               IN THE UNITED STATES BANKRUPTCY COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                          NORTHERN DIVISION

  In re:                                   ) Chapter 11
                                           )
  REMINGTON OUTDOOR                        ) Case No. 20-81688
  COMPANY, INC., et al.,                   )
                                           )
           Debtor.                         ) Joint Administration Requested
                                           )



                 MOTION FOR PRO HAC VICE ADMISSION OF
                          JOANNA MCDONALD


       COMES NOW, Ankura Trust Company, LLC (“Ankura”), pursuant to Local

 Rule 2090-1 of the United States Bankruptcy Court for the Northern District of

 Alabama and Local Rule 83.1 of the United States District Court for the Northern

 District of Alabama and respectfully requests that Joanna McDonald be granted

 admission pro hac vice to appear as co-counsel for Ankura, in the above-entitled

 matter.

       1.      Ms. McDonald avers that she is eligible and qualified to be admitted to

 practice before this Court pro hac vice. Ms. McDonald is an attorney at the law firm

 of Davis Polk & Wardwell LLP, located at 450 Lexington Avenue, New York, NY

 10017, phone (212) 450-4000, email: joanna.mcdonald@davispolk.com and

 regularly practices law in New York. She was admitted to the New York Bar in

 2014. She remains in good standing with the New York Bar.



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       2.      Ms. McDonald further avers that she is admitted to practice in the

 United States District Court for the Southern District of New York. She is a member

 in good standing and eligible to practice in this court.

       3.      Ms. McDonald understands that by appearing in this case, she is subject

 to the rules of this Court, just as if a member of the bar of this district. Pursuant to

 Local Rule 83.1, Ms. McDonald further confers disciplinary jurisdiction upon this

 Court for any alleged misconduct arising in the course of, or in preparation for,

 proceedings in this case.

       4.      A Certificate of Good Standing for Ms. McDonald from the United

 States District Court for the Southern District of New York, where Ms. McDonald

 resides and regularly practices law, is attached hereto as Exhibit 1 hereof.

       5.      Immediately after the filing of this Motion, the $75.00 fee to appear in

 this case pro hac vice will be paid to the U. S. District Court for the Northern District

 of Alabama.

       6.      A proposed order that would grant this Motion is attached hereto as

 Exhibit 2 hereof for the Court’s consideration.

       WHEREFORE, PREMISES CONSIDERED, the undersigned respectfully

 requests that the application for admission pro hac vice of Joanna McDonald be

 granted to represent Ankura in the above-captioned matter.

       This 28th day of July, 2020.


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                                     Respectfully submitted,



                                     /s/ Benjamin S. Goldman
                                     BENJAMIN S. GOLDMAN
                                     Bar Number: asb-3292-e67g
                                     Attorney for Ankura Trust Company, LLC
                                     HAND ARENDALL HARRISON SALE LLC
                                     1801 5th Avenue North, Suite 400
                                     Birmingham, AL 35203
                                     Telephone: (205) 502-0142
                                     Fax: (205) 397-1303
                                     Email: bgoldman@handfirm.com


                                     /s/ Joanna McDonald
                                     Joanna McDonald
                                     Attorney for Ankura Trust Company, LLC
                                     DAVIS POLK & WARDWELL LLP
                                     450 Lexington Avenue
                                     New York, NY 10017
                                     Telephone: (212) 450-4000
                                     Email: joanna.mcdonald@davispolk.com




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               IN THE UNITED STATES BANKRUPTCY COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                          NORTHERN DIVISION

  In re:                                    )   Chapter 11
                                            )
  REMINGTON OUTDOOR                         )   Case No. 20-81688
  COMPANY, INC., et al.,                    )
                                            )
           Debtor.                          )   Joint Administration Requested
                                            )

                          CERTIFICATE OF SERVICE

         I hereby certify that on July 28th, 2020, I electronically filed the foregoing
 with the Clerk of the Court using the CM/ECF system which will send notification
 to all participants of the CM/ECF system and/or that I accomplished service by first
 class U.S. Mail, properly addressed postage pre-paid, on the following:

 U. S. Bankruptcy Administrator                 Debtor Remington Outdoor Company,
 1800 5th Avenue North                          Inc., et al.
 Birmingham, AL 35203-2111                      100 Electronics Boulevard SW
                                                Huntsville, AL 35824

                                                Stephen H. Warren
                                                Karen Rinehart
                                                O’Melveny & Myers LLP
                                                400 South Hope Street
                                                Los Angeles, CA 90071-2899

                                                Derek F. Meek
                                                Hanna Lahr
                                                Burr & Forman LLP
                                                420 20th Street North, Suite 3400
                                                Birmingham, AL 35203

                                                On behalf of Debtor
                                                Remington Outdoor Company, Inc., et al.

      and I hereby certify that I have mailed by United States Postal Service the
 document to the following non-CM/ECF participants listed on the attached matrix.
                                           4

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                                     Respectfully submitted,



                                      /s/ Benjamin S. Goldman
                                     BENJAMIN S. GOLDMAN
                                     Bar Number: asb-3292-e67g
                                     Attorney for Creditor Ankura Trust Company, LLC
                                     HAND ARENDALL HARRISON SALE LLC
                                     1801 5th Avenue North, Ste. 400
                                     Birmingham, AL 35203
                                     Telephone: (205) 502-0142
                                     Fax: (205) 397-1303
                                     Email: bgoldman@handfirm.com




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         EXHIBIT 1



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         EXHIBIT 2



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                     UNITED STATES BANKRUPTCY COURT
                      NORTHERN DISTRICT OF ALABAMA
                            NORTHERN DIVISION

  In re:                                     ) Chapter 11 Proceeding
                                             )
  REMINGTON ARMS COMPANY,                    ) Case No. 20-81688
  LLC                                        )
                                             )
           Debtor.                           ) Joint Administration Requested
                                             )

                     ORDER FOR ADMISSION PRO HAC VICE

       UPON CONSIDERATION of the Motion for Pro Hac Vice Admission of

 Joanna McDonald (the “Motion”), requesting that the Court admit Joanna McDonald

 of Davis Polk & Wardwell LLP to its bar pro hac vice to represent Ankura Trust

 Company, LLC in the above-captioned bankruptcy case, and finding good cause

 therefore, it is hereby

       ORDERED, that the Motion is hereby GRANTED, and it is further,

       ORDERED, that Joanna McDonald is hereby admitted to the bar of this Court

 pro hac vice to appear on behalf of Ankura Trust Company, LLC in the above-

 referenced proceeding, effective upon payment to the U.S. District Court for the

 Northern District of Alabama of the required admission fees.

 Dated: July ____, 2020.



                                                *
                                                U.S. Bankruptcy Judge



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Label Matrix for local noticing                      Remington Outdoor Company, Inc.                      U. S. Bankruptcy Court
1126-8                                               100 Electronics Boulevard SW                         400 Well Street
Case 20-81688-CRJ11                                  Huntsville, AL 35824-2200                            P. O. Box 2775
NORTHERN DISTRICT OF ALABAMA                                                                              Decatur, AL 35602-2775
Decatur
Tue Jul 28 08:51:38 CDT 2020
Internal Revenue Service                             Secretary of the Treasury                            U.S. Securities and Exchange Commission
P.O. Box 7346                                        1500 Pennsylvania Ave., NW                           Regional Director, Branch of Reorganizat
Philadelphia, PA 19101-7346                          Washington, DC 20220-0001                            Atlanta Regional Office, Suite 900
                                                                                                          950 East Paces Ferry Road
                                                                                                          Atlanta, GA 30326-1180

United States Attorney                               United States Bankruptcy Administrator               Derek F Meek
Northern District of Alabama                         Northern District of Alabama                         Burr & Forman LLP
1801 Fourth Avenue North                             1800 Fifth Avenue North                              420 North 20th Street
Birmingham, AL 35203-2101                            Birmingham, AL 35203-2111                            Suite 3400
                                                                                                          Birmingham, AL 35203-3284

Richard M Blythe
United States Bankruptcy Administrator
PO Box 3045
Decatur, AL 35602-3045




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)City of Huntsville, Alabama                       End of Label Matrix
                                                     Mailable recipients     9
                                                     Bypassed recipients     1
                                                     Total                  10




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